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 4
   Attorney for:
 5 MARIA ESCAMILLA LOPEZ

 6                               IN THE UNITED STATES DISTRICT COURT

 7                                  EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                           CASE NO. 2:19-cr-00231-WBS-4

10                                 Plaintiff,            STIPULATION AND ORDER TO MODIFY
                                                         CONDITION OF PRETRIAL RELEASE
11                          v.

12   MARIA ESCAMILLA LOPEZ,
                         Defendant
13

14

15

16                                               STIPULATION

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18          Plaintiff United States of America, by and through its counsel of record, Timothy Delgado, and

19 Defendant Maria Escamilla Lopez, represented by Attorney Dina Santos; hereby stipulate as follows:

20          Condition 13 of the special conditions of release shall be modified to read as follows:

21          CURFEW: You must remain inside your residence between the hours of 8:00 p.m., and 7:00

22 a.m., except for employment; education; religious services; medical, substance abuse, or mental health

23 treatment; attorney visits; court appearances; court ordered obligations; or other activities pre-approved

24 by the pretrial services officer. Pretrial Services has been notified and has no objection to the request.

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26          IT IS SO STIPULATED.

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 1   Dated: February 5, 2020                    McGregor Scott
                                                United States Attorney
 2

 3                                              /s/ Timothy Delgado
                                                TIMOTHY DELGADO
 4                                              Assistant United States Attorney

 5

 6 Dated: February 5, 2020                   /s/ Dina L. Santos
                                             DINA L. SANTOS, ESQ.
 7
                                             Attorney for Maria Escamilla Lopez
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                                         ORDER
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          IT IS SO FOUND AND ORDERED.
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          Dated: February 5, 2020
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